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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION




UNITED STATES OF AMERICA,                                    Case No. 1-97-CR-43-02

               Plaintiff,                                    Hon. Richard Alan Enslen

       v.

ALEX CRUZ,
                                      /                      ORDER
               Defendant.

       This matter is before the Court on Defendant Alex Cruz’s Motion to Request a Video-Tele-

Conference in regard of Honorable Richard Alan Enslen Order Entered on August 11, 2006.

       Defendant has made this Motion on the basis of a perceived violation of this Court’s Order of

August 11, 2006. In that Order, the Court granted Defendant’s Motion to Correct Restitution Payment

Order. The Court considered those factors set forth in 18 U.S.C. § 3664(f)(1)(B)(2), and found,

“Defendant’s restitution shall be paid in minimum quarterly installments of $25 based on [Inmate

Financial Responsibility Program] participation, or minimum monthly installments of $20 based on

UNICOR earnings, during the period of incarceration.” (Order 3.)

       Defendant now contends that prison officials are in violation of this Order because his current

payment schedule is quarterly installments of $48 rather than $25.         However, Defendant has

misconstrued the Court’s Order, interpreting the minimum amount designated as the only amount that

shall be paid by Defendant. Therefore, a tele-conference clarifying the Order is unnecessary and there

is no violation as the quarterly installments are based on his Inmate Financial Responsibility Program

participation pursuant to 28 C.F.R. § 545.11 and in accordance with the Court’s Order.
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      THEREFORE, IT IS HEREBY ORDERED that Defendant Alex Cruz’s Motion to Request

a Video-Tele-Conference (Dkt. No. 307) is DENIED.


Dated in Kalamazoo, MI:                          /s/Richard Alan Enslen
November 3, 2006                                Richard Alan Enslen
                                                Senior United States District Judge
